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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS §' §“’~ ;5`&?907
DALLAS DIVISION )<\ f f
OR\G\NAL CLth US>MST lC COURr
ERNEST GOTTDIENER ' By .___._`
on behalf of himself '

 

 

and all others similarly situated and
derivatively, on behalf of TXU CORP.,

 

Plaintiff,

VS.

LELDON E. ECHOLS, KERNEY LADAY, _ w § o
JACK E. LITTLE, GERARDO I. LOPEZ, J. 3 0 7 b V 0 4 O 6 M
E. OESTERREICHER, MICHAEL W.

RANGER, LEONARD H. ROBERTS, CIVIL ACTION NO.

GLENN F. TILTON, C. JOHN WILDER,
TXU CORP. KOHLBERG KRAVIS
ROBERTS & CO., and TEXAS PACIFIC
GROUP,

- and -

TXU CORP., a Texas corporation,

Nominal Defendant,

Defendants.

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PLAINTIFF’S CLASS AND DERIVATIVE COMPLAINT

24786

 

 

 

Case 3:07-cV-OO4(’_ Document 1 Filed 03/05/07 FQe 2 of 25 Page|D 2

INTRODUCTION

l. This is a shareholder class and derivative action on behalf of TXU Corp.
(“TXU” or the “Company”) and its public shareholders against TXU’s Board of Directors (“Board”)
and Kohlberg Kravis Roberts & Co. (“KKR”) and Texas Pacific Group (“TPG”), two of the
country’ s lead private equity firms, in connection with defendants’ agreement to sell the Company to
KKR and TPG (the “Proposed Acquisition”) in violation of their fiduciary obligations

JURISDICTION AND VENUE

2. This Court has jurisdiction pursuant to 28 U.S.C. §1332 in that plaintiff and
defendants are citizens of different states and the amount in controversy exceeds $75,000, exclusive
of interest and costs.

3. Venue is proper in this District pursuant to 28 U.S.C. §1391 because TXU is
headquartered in this District and a substantial portion of the transactions and wrongs complained of
herein, including defendants’ primary participation in the wrongful acts detailed herein, occurred in
this District. One or more defendants either resides in or maintains executive offices in this District.

PARTIES

4. PlaintiffErnest Gottdiener, a citizen of Florida, has been the owner of shares
of the Company since prior to the transaction herein complained of and continuously to date.

5. Defendant TXU is a corporation duly organized and existing under the laws of
the State of Texas With its principal offices located at 1601 Bryan Street, Dallas, Texas 75201-341 l.

TXU operates as a holding company that manages a portfolio of competitive and regulated energy
businesses in Texas. As of November 6, 2006, the Company had outstanding over 459,240,549
shares of its common stock.

6. Defendant C. John Wilder (“Wilder”), a citizen of Texas, is and has been at
all relevant times Chairman, President and ChiefExecutive Officer of the Company since May 2005;

prior thereto President and Chief Executive of the Company (February 2004 - May 2005).

24786

 

 

Case 3:07-cV-OO4(. Document 1 Filed 03/05/07 F.e 3 of 25 Page|D 3

7. Defendant Leldon E. Echols, a citizen of Texas, is and was at all relevant
times a director of the Company.

8. Defendant Kerney Laday, a citizen of Texas, is and was at all relevant times a
director of the Company.

9. Defendant Jack E. Little, a citizen of Texas, is and was at all relevant times a
director of the Company.

lO. Defendant Gerardo I. Lopez, a citizen of Washington,, is and was at all
relevant times a director of the Company.

11. Defendant J. E. Oesterreicher, a citizen of Texas, is and was at all relevant
times a director of the Company.

12. Defendant Michael W. Ranger, a citizen of New York, is and was at all
relevant times a director of the Company.

13. Defendant Leonard H. Roberts, a citizen of Texas, is and was at all relevant
times a director of the Company.

14. Defendant Glenn F. Tilton, a citizen of Illinois, is and was at all relevant times
a director of the Company.

15. The defendants named above in 6 through 14 are sometimes collectively
referred to herein as the “lndividual Defendants.” The Individual Defendants constitute the Board of
Directors of TXU and, by reason of their corporate directorships and executive positions, stand in a
fiduciary position relative to the Company’ s public shareholders Their fiduciary duties, at all times
relevant herein, required them to exercise their best judgment, and to act in a prudent manner, and in
the best interest of the Company’s minority shareholders Said defendants owe the public
shareholders of TXU the highest duty of good faith, fair dealing, due care, loyalty, and full candid

and adequate disclosure.

24786

 

 

 

Case 3:07-cV-OO4(. Document 1 Filed 03/05/07 F.é 4 of 25 Page|D 4

l6. Defendant KKR, a citizen of New York, is a private equity firm specializing in
management buyouts, with offices in New York, Menlo Park, Califomia, London, Paris, Hong Kong
and Tokyo.

17. Defendant TPG, a citizen of Texas, is a private investment partnership that
was founded in 1992 and currently has more than $30 billion of assets under management TPG is
headquartered in Fort Worth, With offices in San Francisco, London, Hong Kong, New York,

Minneapolis, Melbourne, Menlo Park, Mumbai, Shanghai, Singapore and Tokyo.

CLASS ACTION ALLEGATIONS

18. Plaintiff brings Counts IV and V pursuant to Rule 23 of the Federal Rules of
Civil Procedure, on his own behalf and as a class action on behalf of all TXU common shareholders
(except the defendants herein and any person, firm, trust, corporation, or other entity related to or
affiliated with any of the defendants) or their successors in interest, who are or will be threatened
with injury arising from defendants’ actions as more fully described herein (the “Class”).

19. Counts IV and V are properly maintainable as class claims for the following
reasons:

a) The Class is so numerous that joinder of all members is impracticable As of
November 6, 2006, the Company had outstanding over 459,240,549 shares of its
common stock;

b) There are questions of law and fact which are common to the class including, inter
alia, the following: (i) whether defendants have breached their fiduciary and other
common law duties owed them to plaintiff and the members of the class; (ii) whether
defendants are pursuing a scheme and course of business designed to eliminate the
public shareholders of TXU in violation of the laws of the State of Texas in order to
enrich the buyout group at the expense and to the detriment of the plaintiff and the

other public stockholders who are members of the class; (iii) whether the proposed

24786

4

 

 

Case 3:07-cv-OO4(. Document 1 Fi|eo| 03/05/07 |Qe 5 of 25 PagelD 5

20.

d)

acquisition, hereinafter described, constitutes a breach of the duty of fair dealing with
respect to the plaintiff and the other members of the class; and (iv) whether the class
is entitled to injunctive relief or damages as a result of defendants’ wrongful conduct.
Plaintiff is committed to prosecuting this action and has retained competent counsel
experienced in litigation of this nature. The claims of plaintiff are typical of the
claims of the other members of the class and plaintiff has the same interests as the
other members of the class. Plaintiff will fairly and adequately represent the class.
The prosecution of separate actions by individual members of the class would create
the risk of inconsistent or varying adjudications with respect to individual members
of the class which would establish incompatible standards of conduct for defendants,
or adjudications with respect to individual members of the class which would as a
practical matter be dispositive of the interests of the other members not parties to the
adjudications or substantially impair or impede their ability to protect their interests.
Defendants have acted in a manner that affects plaintiff and all members of the class,
thereby making appropriate injunctive relief and/or corresponding declaratory relief
with respect to the class as a whole.
DERIVATIVE ALLEGATIONS

Plaintiff brings this action, pursuant to Rule 23.1 of the Federal Rules of Civil

Procedure derivatively in the right and for the benefit of TXU to redress injuries that have been

suffered and are continuing to be suffered by TXU as a direct result of defendants’ violations of law.

TXU is named as a nominal party in this derivative action solely in a derivative capacity. This is not

a collusive action to confer jurisdiction on this Court which it would not otherwise have.

2l.

Plaintiff will adequately and fairly represent the interests of TXU in enforcing and

prosecuting its rights, and has retained counsel experienced and competent in litigating complex

actions and shareholder derivative litigation.

24786

 

 

Case 3:07-cv-OO4C. Document 1 Fi|eo| 03/05/07 Fge 6 of 25 PagelD 6

22. Plaintiff is an owner of TXU stock and was owner of TXU stock during times
relevant to defendants’ illegal and wrongful course of conduct alleged herein,

23. Any demand made by plaintiff to the TXU Board to institute this action is excused, as
it would be a futile and useless act based on all the allegations in this Complaint and defendants’
actions to date, including the Individual Defendants’: (i) failure to protect the interests of TXU and
its shareholders by refusing to pursue value-maximizing alternatives; (ii) agreement to unlawful
provisions contained in the Merger Agreement, (iii) use of the sales process to negotiate personal
benefits for themselves; and (iv) agreement to cause the Company to incur $24 billion in additional
debt in connection with the Proposed Acquisition. The Board consists of nine directors, all of whom
are defendants in this action. These defendants maintain complete voting control over any decisions
required to be made by the Board, including any action to be taken in response to a demand made by
shareholders Each of the members of the Board has directly participated in the wrongs complained
of herein, which disables them from acting independently, objectively or in good faith in response to
a demand by shareholders The Board and senior management are not disinterested or independent
as detailed herein and set forth below: _

a) Each of the Individual Defendants serves on the TXU Board and was charged with
oversight and operation of the Company and the conduct of its business affairs Each
of the Individual Defendants has breached the fiduciary duties owed to TXU and its
shareholders by, among other things, approving the Proposed Acquisition and failing
to take reasonable steps to protect and advance the interests of TXU and its
shareholders;

b) Each of the Individual Defendants has taken steps to cause the Company to assume
$24 billion in additional debt in connection with the Proposed Acquisition;

c) Certain of the Individual Defendants, including defendant Wilder, will reap tens, if
not hundreds of millions of dollars in special benefits from the consummation of the

Proposed Acquisition, including being allowed to roll over their equity stake into the

24786

 

 

Case 3:07-cV-OO4(. Document 1 Filed 03/05/07 FQ€ 7 of 25 Page|D 7

surviving company and/or receiving change-of-control benefits such as the
acceleration of stock options and restricted stock;

d) Even though certain Individual Defendants claim to be independent directors because
they are not directly employed by the Company, none of these defendants are truly
independent and have demonstrated their alignment with Company management by
supporting each and every course of action favored by Company management,
including voting in favor the merger agreement; and

e) As more fully detailed herein, the Board participated in, approved and/or permitted
the wrongs alleged herein to have occurred and participated in efforts to conceal or
disguise those wrongs from TXU’s shareholders or recklessly and/or negligently
disregarded the wrongs complained of herein.

24. The Individual Defendants named herein have not exercised and cannot exercise
independent or objective judgment in deciding whether to bring this action or whether to vigorously
prosecute this action because each of the Board members has participated in and/or acquiesced in the
misconduct alleged herein.

25. The directors of the Board have demonstrated their unwillingness to act in compliance
with federal or state law or sue themselves and/or their fellow directors and allies in the top ranks of
the corporation for failure to do so, as they have developed professional relationships with their
fellow board members who are their friends and with whom they have entangling financial alliances,
interests and dependencies, and therefore, they are not able to and will not vigorously prosecute any
such action.

26. TXU’s senior insiders and directors herein have shown their interests to be
antagonistic to TXU and this lawsuit as they have used the sales process to obtain specific benefits
for themselves, refused to maximize shareholder value for TXU and its shareholders and have voted
to cause to the Company to assume $24 billion in additional debt in connection with the Proposed

Acquisition. The members of the Board have not and will not authorize a suit against themselves as

24786

 

 

Case 3:07-cv-OO4C. Document 1 Fi|eo| 03/05/07 liga 8 of 25 PagelD 8

Group to buy the Company with even less cash upfront. The Investor Group contemplates finding
other investors to ante up cash for the Transaction.

31. KKR and TPG are each putting up about $2 billion in cash. Goldman Sachs,
Lehman Brothers, Morgan Stanley and Citigroup, collectively, plan to invest 333 billion from their
private equity arms bringing the cash total to only $7 billion, $l billion short of the $8 billion
required. JPMorgan Chase, Morgan Stanley and Citigroup are providing the $l billion equity bridge.

32. The press release further stated that based upon the unanimous
recommendation of the Strategic Transactions Committee comprised of purportedly independent
TXU directors, the TXU board of directors has approved the Merger Agreement and has
recommended that TXU's shareholders adopt the agreement

33. Under the terms of the agreement, TXU shareholders will be offered $69.25 in
cash for each share of TXU common stock held representing a premium of 15 percent to the closing
price of TXU shares on February 22, 2007.

34. TXU has 3 businesses and, after the buyout, the Company will be reorganized
so that these businesses are independently operated businesses: generation, transmission and
distribution, and retail.

35. The Investor Group seeking to acquire TXU pledged that if its $32 billion
buyout bid is successful it will hold on to the utility for at least five years and will not load any
acquisition-related debt onto the utility. The statement by Texas Energy Future Holdings LP, a
holding company formed by KKR and TPG and other investors, came in response to Texas
lawmakers' criticism of the Transaction. Under the Proposed Acquisition, the surviving entity could

emerge with as much as $33 billion of debt. Such debt could lead to higher costs for consumers

24786

 

 

 

 

Case 3:07-cv-OO4C. Document 1 Fi|eo| 03/05/07 Fge 9 of 25 PagelD 9

such a suit would require these defendants to expose themselves to a huge personal liability to TXU
due to the particular language of currently utilized directors’ and officers’ liability insurance policies
(i.e., the insured vs. insured exclusion), such an action would not be an insured claim.

27. The underlying misconduct of the Individual Defendants is not a product of a valid
exercise of business judgment, and cannot be properly ratified by the Board.

BACKGROUND

28. On February 26, 2007, TXU reported over the PR Newswire that TXU
executed a definitive merger agreement under which an investor group led by KKR and TPG will
acquire TXU in a transaction valued at $45 billion (the “Merger Agreement”). Goldman Sachs
Corp., Lehman Brothers, Citigroup and Morgan Stanley intend to be equity investors with KKR and
TPG at closing (the “Investor Group”). Under the terms of the Merger Agreement, shareholders will
be offered $69.25 per share at closing, for each TXU share that they own (the “Transaction”). This
leveraged buyout would be the largest ever.

29. The Transaction requires $8 billion of cash upfront, $24 billion of new debt
and the assumption of approximately $13 billion in debt. A substantial amount of debt for the
buyout will be issued at TXU Energy Co. and secured by substantially all of that unit's assets
Another portion would be in the form of unsecured notes issued by the parent company. TXU has
commitments from financial institutions for $24.6 billion of debt financing for the Transaction.

30. The Investor Group has secured debt financing in the amount Of $24 billion,
The banks are also lending $1 billion to the Investor Group not as secured debt, but in the form of

equity using the bank’ s own cash. Known as an “equity bridge,” the arrangement allows the Investor

24786

 

Case 3:07-cV-OO4O. Document 1 Filed 03/05/07 PQ 10 of 25 Page|D 10

Texas legislators said they feared the new owners could pile enormous debt on the regulated energy-
delivery business, called Oncor, and then demand rate relief at the Texas Public Utility Commission.
If the relief wasn't granted, the owners could put the utility under bankruptcy protection, possibly
pitting a federal bankruptcy court against state officials, the lawmakers have said.

36. TXU disclosed on March 2, 2007 that its purchasers have lined up $24.6
billion in debt financing to complete the deal. The new debt would be heaped on top of TXU's
current debt of about $13 billion, pushing the utility's total debt close to $37 billion, The TXU
disclosure indicates that the buyers would contribute less than $8 billion to the deal. In its annual
financial report filed with the SEC, TXU said a "substantial majority" of the new debt would be
added to its retail energy division and none would be added to the transmission business, the only
regulated part of its business

37. Fitch Ratings service said because of the disclosure, it expected to downgrade
the credit of TXU and its subsidiaries again, from double-B-plus to single-B, further into junk-bond
territory. A debt load of nearly $37 billion would put TXU's debt-to-cash flow ratings higher than
Dynegy Corp. and much higher than other rivals such as Mirant Corp. and NRG Energy Inc. One
analyst has noted that TXU can handle the debt load as long as its power-generation business keeps
producing strong earnings TXU benefits from high electricity rates in Texas and the lack of new
power plants being built. However, the Company could be squeezed by an economic downturn or
falling natural gas prices, which would cause rates to fall.

38. In short, the level of debt in the KKR-Texas Pacific deal, combined with
TXU's junk-bond status, could mean higher borrowing costs and ultimately higher rates to

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24786

10

 

 

 

C'aS€ 3207-CV-OO40, DOCUm€nt 1 Filed 03/05/07 P&ll Of 25 Page|D 11

39. The Transaction is expected to close in the second half of 2007, subject to
receipt of shareholder approval and required federal regulatory approvals, as well as satisfaction of
other customary closing conditions There is no financing contingency associated with the
Transaction.

40. Credit Suisse Securities and Lazard acted as financial advisors to TXU in
connection with the Transaction. Sullivan & Cromwell LLP and Cravath, Swaine and Moore LLP
acted as outside legal advisors to TXU and the Strategic Transactions Committee, respectively, in
connection with the Transaction.

41 . Citigroup, Goldman Sachs, JP Morgan, Lehman Brothers and Morgan Stanley
acted as financial advisors to the Investor Group. Simpson Thacher & Bartlett LLP, Vinson &
Elkins LLP, Covington & Burling LLP, Hunton & Williams LLP and Stroock & Stroock & Lavan
LLP acted as legal advisors to the Investor Group.

42. The Company may terminate the Merger Agreement under certain
circumstances including if its board of directors determines in good faith that it has received a
superior proposal, and otherwise complies with certain terms of the Merger Agreement However, in
connection with such termination, the Company must pay a fee of $l billion to the Investor Group,
unless such termination is in connection with a superior proposal submitted by certain persons who
made such a proposal prior to the end of the go-shop period of April l6, 2007. If a bid is received
within this brief window of time, the termination fee will be $375 million.

43. Although members of management, including Chairman and ChiefExecutive

John Wilder, purportedly have made no commitments to stay with the Company should the

24786

11

 

 

 

Case 3:07-cv-OO40@ Document 1 Filed 03/05/07 Pz.12 of 25 Page|D 12

Transaction go through, it is anticipated that they will remain with the Company following the

Transaction.
44. Others have also allegedly earned illicit profits from the deal. On March 2,
2007, Forbes reported that the Securities and Exchange Commission won a court order to freeze $5 .4

million in assets of investors suspected of trading on inside information related to the blockbuster

TXU buyout:

The SEC said in a complaint in a Chicago federal court that the
purchase of call options came from foreign accounts in the days
before TXU announced its $45 billion leveraged buyout on Feb.
26 by Kohlberg Kravis Roberts & Co., Texas Pacific Group and
Goldman Sachs . . . .

The court order required the unknown call options purchasers to
identify themselves and orders them not to destroy evidence.

As buyouts and other mergers and acquisitions transactions continue
to heat up, insider trading has become an issue of increasing concern
among regulators The SEC has already been probing Whether some
employees at investment banks are tipping favored hedge fund clients
with details of upcoming transactions to keep or win more business

On Thursday, the SEC unmasked an alleged scheme by current and
former employees of Morgan Stanley . . ., Bear Stearns . . . and UBS

. ., and employees of three hedge funds The SEC and federal
prosecutors in New York accuse them of trading on inside
information, including advance word of research recommendation
upgrades or downgrades and tips on deals in the works The SEC
says the ring netted some $15 million in profits over six years

45. The Transaction serves no legitimate business purpose for TXU public
stockholders The Transaction is designed to serve the business purposes of the Investor Group only,
without regard to the interests of the public stockholders of TXU.

46. Furthermore, the public common stockholders of TXU are not receiving fair

value for their holdings in connection with the Transaction. The proposed plan will, for a grossly
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12

 

 

 

Case 3:07-cV-OO4O, Document 1 Filed 03/05/07 PQ 13 of 25 Page|D 13

inadequate consideration, deny plaintiff and the other members of the class their right to share
proportionately in the future success of TXU and its valuable assets while permitting the Investor
Group to reap huge benefits from the Transaction.

47. Indeed, on February 27, 2007, just days after announcing the Proposed
Acquisition, or the three months ended Dec. 31, 2006, TXU reported net income of $475 million, or
$1.03 a share, up from $356 million, or 74 cents a share, a year ago. Excluding one-time items
earnings from ongoing operations totaled $556 million, or $l .21 a share, narrowly beating the $1.20
per-share earnings analysts surveyed by Thomson Financial had been looking for. Full-year earnings
for TXU totaled $2.55 billion, or $5.46 a share, compared with $1.71 billion, or $2.50 a share, in
2005.

48. Moreover, defendants have failed to take those steps necessary to ensure that
the Company’s shareholders will receive maximum value for their shares of TXU common stock.
Defendants have failed to conduct an active auction or to establish an open bidding process in order
to maximize shareholder value in selling the Company.

49. The Investor Group and the Individual Defendants have clear and material
conflicts of interest and are acting to better the interests of the Investor Group and themselves at the
expense of TXU's public stockholders

50. KKR has had longstanding relations with TXU ChiefExecutive Wilder, and
TPG.

51. Defendant Wilder, who has expressed a desire to stay with the Company,
stands to reap a rich payday. He negotiated a lucrative compensation package three years ago, when

TXU was in the doldrums. By some estimates he may now be eligible for Well over $100 million in

24786

13

 

 

Case 3:07-cV-OO4O, Document 1 Filed 03/05/07 PQ 14 of 25 Page|D 14

payments reflecting the full vesting of several large stock allotments called for under his complex
five-year employment contract. Mark Reilly, a partner at pay consultant 3C, Compensation
Consulting Consortium, said ambiguity in the wording of some documents such as TXU's proxy
statement, made a detailed estimate difficult. But he said the contract could be valued at as much as
$200 million at the current stock price.

52. On March 2, 2007, the Company announced over PRNewswire that director
Dr. E. Gail de Planque had resigned from the TXU Corp. Board of Directors According to the
release, “Dr. de Planque's resignation avoids any perception of a potential conflict of interest arising
out of her historical professional relationships within the industry.”

53. According to the release:

[I]n her letter of resignation, Dr. de Planque noted that, as a result of

the advice of outside counsel to both TXU and the Strategic

Transactions Committee of the Board of Directors of TXU and the

recommendation of the Board, she had recused herself from all

discussions about the proposed merger announced February 26. In

light of the expected continuing deliberations of the Board of

Directors relating to the proposed transaction, Dr. de Planque

decided, consistent with the views of the Board and outside counsel

to TXU and the Strategic Transactions Committee, that it was in the

best interests of all parties concerned that she resign effective

immediately

54. KKR and TPG have aided and abetted the breaches of fiduciary duty described
herein. Without KKR and TPG, the Transaction could not be effectuated

55. As a result of the defendants' unlawful actions plaintiff and the other

members of the Class will be irreparably harmed in that the nature and value of their investment in

TXU will be compromised for the sole benefit of the Investor Group. Unless the Transaction is

24786
14

 

Case 3:07-cV-OO4O, Document 1 Filed 03/05/07 PNH of 25 Page|D 15

enjoined by the Court, defendants will continue to breach their fiduciary duties owed to plaintiff and
the members of the Class all to the irreparable harm of the members of the Class

56. Defendants KKR and TPG have conspired in, and aided and abetted, the
breaches of fiduciary duty described herein, The Company, through its management, has
participated in the conduct described herein, and, in that the Transaction, if allowed to proceed, will
result in the public shareholders being forced to cash out of their desired investment (and the future
benefit they hoped to enjoy therefrom) with the Company then ceasing to exist, the Company must
be forced to ensure that its public shareholders enjoy every benefit and obligation owed to it by the
Individual Defendants

Buyouts by Private Equity Firms Are Often Skewed Due to Conflicts of
Interests and Often Do Not Result in the Highest Price Reasonably
Obtainable for Shareholders

57. According to an article that appeared in T he Wall StreetJournal on September
8, 2006, the process through which a Company is sold to private equity buyers is generally skewed in
favor of the Company’s management T he Wall Street Journal article highlights this conflict as

follows:

ln such cases [where a company is being sold to private equity
firms], management, with all its detailed knowledge of the company,
goes from being a seller striving for a high price to being a buyer
looking for an attractive price. Usually the sale of a public company
involves an auction or a competitive-bidding process But when
management joins the private-equity buyers there often isn’t such an
open procedure, and the process is especially fraught with potential
conflicts of interest,

* * *

T here is little that is more important to a private-equity firm
than courting the management of a potential target. A critical part
of the wooing process is to offer management lavish incentives

24786

15

 

j Case 3:07-cV-OO4O’ Document 1 Filed 03/05/07 P’ 16 of 25 Page|D 16

T hose incentives generally involve as much as a 10% stake in the
reorganized company - far more than managements can usually
hope for either as a public company or from a strategic buyer. If
management hits financial and operational targets set by the new
owners the executives generally receive stock and options If the
executives exceed those targets they get more of both. And when the
company is recapitalized or goes public, the executives often get
Windfalls valued at hundreds of millions of dollars

* * *

While some boards are diligent in vetting deals the process
sometimes is skewed in favor of a sale. For example, there usually is
a period when other bidders can come forth with offers But if that
window is short, the likelihood of a rival bid emerging isn't large,
since potential buyers won't have time to perform due diligence.
Special committees charged with weighing deals also can set

breakup fees that make rival bidders pay clearly to get rid of the
original buyer. [Emphasis added].

58. lndeed, the formation of so called “clubs” (as the Investor Group has formed
in the present case) to acquire a publicly held corporation has become the subject of a probe by the
Department of Justice, which has reportedly begun an inquiry into potentially anticompetitive
behavior among leading private-equity firms According to an October l l, 2006 article in The New
York Times, this inquiry “appear(s) to be the beginning of a wide-ranging inquiry into private equity
...” which has become a concern given that the industry, which “has become an increasingly
powerful force on Wall Street in recent years remains relatively unregulated.” According to news
reports among the issues that could come under scrutiny is the private equity firms’ practice of
joining together on some bids. According to T he New York Times article, this issue has become of
particular concern since “[w] hen firms get together to form consortiums or clubs as they are known

in the industry, to bid on a specific company, that could have the effect of limiting competition and

24786

16

 

 

Case 3:07-cV-OO4O, Document 1 Filed 03/05/07 Pz, 17 of 25 Page|D 17

thus artificially depressing the price of takeover bids - and hurting corporate shareholders in the
process”
59. Defendants KKR and TPG have aided and abetted the breaches of fiduciary

duty described herein.

60. Plaintiff and the other members of the Class have no adequate remedy at law.

COUNT I

Derivative Claim Against the Individual Defendants for
Abuse of Control

61. Plaintiff repeats and re-alleges each allegation above set forth herein,

62. The Individual Defendants employed the alleged scheme for the purpose of
deriving material personal benefits for themselves as part of the Proposed Acquisition. As part of
this scheme, defendants have caused the Company to undertake $24 billion in additional debt to
facilitate the Proposed Acquisition.

63. The Individual Defendants’ conduct constitutes an abuse of their ability to
control and influence TXU.

64. By reason of the foregoing, TXU has been irreparably harmed. Only through
the exercise of the Court’s equitable powers can the Company be fully protected from the immediate

and irreparable injury which defendants’ actions threaten to inflict.

COUNT II

Derivative Claim Against the Individual Defendants for
Gross Mismanagement

65. Plaintiff repeats and re-alleges each allegation above set forth herein,
66. The Individual Defendants had a duty to TXU and its shareholders to

prudently supervise, manage and control the operations and business of TXU.

24786

17

 

 

Case 3:07-cV-OO4O, Document 1 Filed 03/05/07 P& 18 of 25 Page|D 18

67. The Individual Defendants by their actions and be engaging in the
wrongdoing described herein, abandoned and abdicated their responsibilities and duties with regard
to prudently managing the businesses of TXU in a manner consistent with the duties imposed upon
them by law. By committing the misconduct alleged herein, the Individual Defendants breached
their duties of due care, diligence and candor in the management and administration of TXU’s affairs
and in the use and preservation of TXU’s assets

68. During the course of discharge of their duties the Individual Defendants knew
or recklessly disregarded the unreasonable risks and losses associated with their misconduct, yet the
Individual Defendants cause TXU to engage in the scheme complained of herein and which they
knew had an unreasonable risk of damage to TXU, thus breaching their duties to the Company. As a
result, the Individual Defendants grossly mismanaged TXU.

69. By reason of the foregoing, TXU has been irreparably harmed. Only through
the exercise of the Court’s equitable powers can the Company be fully protected from the immediate

and irreparable injury which defendants’ actions threaten to inflict.

COUNT III

Derivative Claim Against the Individual Defendants for
Corporate Waste

70. Plaintiff repeats and re-alleges each allegation above set forth herein,

71. By failing to properly consider the interests of the Company and its public
shareholders and causing the Company to undertake $24 billion in additional debt in connection
with the Proposed Acquisition, the Individual Defendants have caused TXU to waste valuable
corporate assets

72. As a result of the Individual Defendants corporate waste, they are liable to the
Company. Only through the exercise of the Court’s equitable powers can the Company be fully

protected from the immediate and irreparable injury which defendants’ actions threaten to inflict.

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Case 3:07-cV-OO4O, Document 1 Filed 03/05/07 P&lQ of 25 Page|D 19

COUNT IV

Class and Derivative Claim For
Breach of Fiduciarv Duties Against the Individual Defendants

73. Plaintiff repeats and re-alleges each allegation above set forth herein.

74. The Individual Defendants have violated fiduciary duties of care, loyalty,
candor and independence owed to the stockholders of TXU and have placed personal interests ahead
of the interests of TXU stockholders causing damages for which plaintiff seeks compensation.

75. By the acts transactions and courses of conduct alleged herein, defendants
individually and acting as a part of a common plan, will unfairly deprive plaintiff and other members
of the Class of the true value of their TXU investment

76. Defendants have failed to take steps to maximize the value of TXU to benefit
the public stockholders and have embarked on a process that avoids competitive bidding and
provides the Investor Group with an unfair advantage by effectively excluding other potential
acquirors or alternative transactions

77. The lnvestor Group dominates and controls the business and corporate affairs
of TXU, and possesses proprietary information concerning them. This results in an imbalance and
disparity of knowledge between the lnvestor Group and other stockholders which makes the process
used herein inherently unfair.

7 8. The Individual Defendants haven violated their fiduciary duties by engaging
and endeavoring to enter into the Transaction without regard to the fairness of the Transaction to
TXU stockholders and the fiduciary duties owed to plaintiff and the other public stockholders of
TXU. The Individual Defendants have also breached their duties of loyalty and due care by not
taking adequate measures to ensure that the interests of TXU's public stockholders are properly
protected from overreaching by the Investor Group.

79. By reason of the foregoing acts practices and course of conduct, the
Individual Defendants have failed to exercise due care and diligence in the exercise of their fiduciary

obligations toward plaintiff and the other members of the Class
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Case 3:07-cv-00406. Document 1 Filed 03/05/07 Pa,20 of 25 Page|D 20

80. As a result of the actions of individual defendants plaintiff and the Class have
been and will be irreparably harmed in that they have not and will not receive their fair portion of the
value of TXU's stock and businesses and will be prevented from obtaining a fair price for their stock.

81. Unless enjoined by this Court, individual defendants will continue to breach
the fiduciary duties owed plaintiff and the Class and may consummate the Proposed Acquisition to
the disadvantage of the public stockholders

82. Individual Defendants have engaged in self-dealing, have not acted in good
faith to plaintiff and the other members of the Class and have breached and are breaching fiduciary
requirements to the members of the Class

83. As a result of the individual defendants’ activities plaintiff and the other
members of the Class will be irreparably harmed in that they will not receive a fair portion of the true
value of TXU's assets and will be prevented from obtaining the real value of their ownership interest
in the Company. Unless the Offer is enjoined by the Court, and a fair process substituted, individual
defendants will continue to breach their fiduciary duties to plaintiff and the members of the Class
will not engage in arm's length negotiations on the Offer terms With the buyout group, and will not
supply to TXU’s stockholders sufficient information to enable them to cast informed decisions on
the Offer.

84. Plaintiff and members of the Class have no adequate remedy at law.

COUNT V

Class and Derivative Claim For Aiding and Abetting
Breaches of Fiduciarv Dutv Against KKR and TPG

85. Plaintiff repeats and re-alleges each allegation above set forth herein.

86. KKR and TPG aided and abetted the Individual Defendants in breaching their
fiduciary duties owed the public shareholders of TXU, including plaintiff and the members of the
Class

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20

 

CaS€ 3207-CV-OO40» DOCUm€nt 1 Filed 03/05/07 P6,21 Of 25 Page|D 21

87. The Individual Defendants owed to plaintiff and the members of the Class
certain fiduciary duties as fully set out herein,

88. By committing the acts alleged herein, the Individual Defendants breached
their fiduciary duties owed to plaintiff and the members of the Class

89. KKR and TPG colluded or aided and abetted the Individual Defendants’
breaches of fiduciary duties, and were an active and knowing participant in the Individual
Defendants’ breaches of fiduciary duties owed to plaintiff and the members of the Class.

90. KKR and TPG agreed to participate in the breach of the fiduciary duties by the
Individual Defendants to the purpose of advancing their own interests KKR and TPG will obtain
both direct and indirect benefits from colluding in or aiding and abetting the Individual Defendants’
breaches KKR and TPG will benefit, inter alia, from the acquisition of the Company pursuant to a
defective sales process at a grossly inadequate and unfair price if thee Proposed Acquisition is
consummated

91. Plaintiff and the members of the Class shall be irreparably injured as a direct
and proximate result of the aforementioned conduct.

PRAYER FOR RELIEF
WHEREFORE, plaintiff demands judgment against the defendants jointly and severally, as

follows:
A. Declaring and decreeing this action to be a Class action and certifying

plaintiff as class representative and counsel listed below as Class Counsel;
B. Declaring and decreeing that the Proposed Acquisition agreement was entered
into in breach of the fiduciary duties of defendants and is therefore unlawful and unenforceable;
C. Enjoining, preliminarily and permanently, the consummation of the Proposed
Acquisition, unless and until the Company adopts and implements procedures or process to comply

with applicable law;

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Case 3:07-cv-0040» Document 1 Filed 03/05/07 Pe’22 of 25 Page|D 22

D. Directing defendants to exercise their fiduciary duties to obtain a transaction
which is in the best interests of TXU and its public shareholders

E. To the extent, if any, that the transaction or transactions complained of are
consummated prior to the entry of this Court’s final judgment, rescinding such transaction or
transactions and granting, inter alia, rescissory damages;

F. Imposition of a constructive trust, in favor of plaintiff and members of the
Class upon any benefits improperly received by defendants as a result of their wrongful conduct;

G. Awarding plaintiff the costs and disbursements of this action, including a
reasonable allowance for the fees and expenses of plaintiff s attorneys and experts; and

H. Granting plaintiff and the other members of the Class such other and further

relief as may be just and proper.

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Case 3:07-cV-00406. Document 1 Filed 03/05/07 Pa,23 of 25 Page|D 23

JURY TRIAL DEMAND

Plaintiff and the proposed class demand a trial by jury on all issues so triable.

Dated: March 5, 2007

OF COUNSEL:

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Peter D. Bull, Esq.

18 East 41St Street

New York, New York 10017
Tel: 212-213-6222

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Respectful Submitted,

,/t?/tr%

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ROBERT W. BIEDERMAN

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ATTORNEYS FOR PLAINTIFF

 

             

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I' (“) PLAIMiM<s
Ernest Gottdiener, on behalf of himself and

all others similarly situated and derivatively,
on behalf of TXU CORP., Dadé

(b) County of Residence of Fii'st Listed Plaintiff
(EXCEPT lN U.S. PLAINTIFF CASES)

g n i c \pi i
(C) AttOm S tFiiin had 14 .. “., add iel‘pbone Number)

STEPHEN L. HUBBARD, ESQ.
HUBBARD & BIEDERHAN, LLP (SEE ADDITIONAL SHEET)

 

 

DEFENDANTS _
Leldon E. Echols, Kerney LaDay, Jack E. L1ttle,

Gerardo I. Lopez, J. E. 0esterreicher, Michael
W. Ranger, (SEE ADDITIONAL SHEET)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

Dallas

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LAND INVOLVED.

 

 

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Plaintiff (U.S. Govemment Not a Pa.\‘ty) Citizen of This State g l § l Incorporated or Principal Place g 4 4
of Business ln This State
g 2 U.S. Government m Diversity Citizen of Another State m 2 g 2 Incorporated and Principal Place g 5 ij 5
Defendant _ , _ _ . , of Business Iri Another State
(lndicate Citizenship of Parties in Item lII)
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fl 130 Miller Act l:l 315 Ai`rp|ane Product Med. Malpractice CI 625 Drug Related Seizure 28 USC 157 g 430 Banks and Banking
fl 140 Negotiable Instrument Liability ij 365 Personal lnjury - of Property 21 USC 881 g 450 Commerce
g 150 Recovery of Overpayment CI 320 Assault, Libel & Product Liability g 630 Liquor Laws |:I 460 Depoitation
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g 196 Fi'anchise injury & Disclosure Act [] 865 RSI (405(g)) g 891 Agn'cu|tural Acts
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13 220 Foreclosure 442 Employment Sentence lj 791 Empli Ret. Inc. or Defendant) f_'l 894 Energy Allocation Act
g 230 Rent Lease & Ejectment g 443 Hoiising/ Habeas Corpus: Securit'y Act g 871 lRS-Thifd Pa\`fy g 395 Fl'e€dom of information
g 240 Torts to Land Accommodations g 530 General 26 USC 7609 A¢f
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vI. CAUSE oF ACTION . .S. 3 c 33
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ADDITIONAL INFORMATION PAGE
(FOR CIVIL COVER SHEET)

DEFENDANTS (CONTINUED)

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